                                                     Case 09-13038-KG                    Doc 1662         Filed 09/26/17      Page 1 of 17


                                               UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF DELAWARE



  In re A28                                                      Case No. 09-13038
Debtors             CD Liquidation Trust Co., LLC                       Reporting Period: 4/1/2017 - 9/30/2017



                                                     QUARTERLY TRUST REPORT
                                                    CYNERGY LIQUIDATION TRUST

DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES:                                                       Q3 2017
  TOTAL OPERATING DISBURSEMENTS                                                                                      40,474
  PLUS: DISTRIBUTIONS TO CREDITORS                                                                                   90,000
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                        -
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                          -
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                    130,474



I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.

Signature of Authorized Individual*                                   Date September 25, 2017

                                                                       9/25/17
Jesse York                                                            CD Liquidation Trustee
Printed Name of Authorized Individual                                 Title of Authorized Individual
                                                    Case 09-13038-KG                   Doc 1662           Filed 09/26/17               Page 2 of 17


Claims Matrix 09/30/17




                                                                                                                       Other Reduction or
                                            Disclosure                                                                 Reclassification or
             Creditor                   Statement Amount     Additional Claims   Final Claim Amount Cash Disbursements      Interest                 Remaining Claim

Prosperity Loan A                              10,322,998                    -            10,322,998           (2,135,801)             (8,187,197)                  -
Term A                                         13,518,758                    -            13,518,758          (17,164,199)              6,181,389           2,535,948
Revolver                                       10,776,411                    -            10,776,411                    -               7,913,741          18,690,152
Swap Agreement                                  2,132,638                    -             2,132,638                    -              (1,259,279)            873,358
Prosperity Loan B                                       -                    -                     -                    -              14,051,855          14,051,855
Term Loan B                                    27,333,126                    -            27,333,126                    -                       -          27,333,126
Term Loan C                                    53,880,113                    -            53,880,113             (750,000)                      -          53,130,113
Unsecured Priority Claims                         193,993               88,587               282,580              (52,285)               (219,344)             63,235
Unsecured Non Priority Claims                   2,309,311                    -             2,309,311                    -                       -           2,309,311
                                Total        120,467,348                88,587          120,555,935           (20,102,285)             18,481,164         118,987,099

Please note that many secured and unsecured claims have been filed as unliquidated; as such, the amounts above are subject to change
                                                      Case 09-13038-KG                     Doc 1662            Filed 09/26/17                 Page 3 of 17


Liquidation Trust Cash Flow




                                                    Jan-17         Feb-17         Mar-17          Apr-17         May-17          Jun-17          Jul-17        Aug-17          Sept-17[1]       Total

Starting Cash Balance Liquidation Trust              159,739         153,275        153,038        145,247         144,950        128,594         128,324           121,256       118,421       159,739
  Cash Transfer                                              -              -              -               -              -               -               -               -         2,140          2,140
  Retainer refund                                            -              -              -               -              -               -               -               -             -              -
Total Receipts                                               -              -              -               -              -               -               -               -         2,140          2,140
Disbursements
  Conway MacKenzie                                          -              -              -               -          9,482              -           4,988                 -         6,430        20,899
  Cohn Reznick                                              -              -          2,550               -              -              -               -             2,550         6,000        11,100
  McDonald                                                  -              -          3,905               -            994              -             568                 -           994         6,461
  Posinelli                                                 -              -          1,100               -              -              -             620                 -         1,532         3,252
  Computer Source                                           -              -              -               -              -              -               -                 -             -             -
  Bodman                                                    -              -              -               -              -              -               -                 -             -             -
  Other                                                 6,464            236            236             297          5,881            270             892               285        15,605        30,167
  Distribution to Creditors                                 -              -              -               -              -              -               -                 -        90,000        90,000
Total Disbursements                                     6,464            236          7,791             297         16,357            270           7,068             2,835       120,561       161,879
Net Cash Flow                                          (6,464)          (236)         (7,791)          (297)       (16,357)           (270)        (7,068)           (2,835)     (118,421)      (159,739)
Ending Cash Balance 70726                            153,275        153,038         145,247        144,950         128,594        128,324         121,256           118,421                 -           -

Ending Cash Balance 70734                               2,175          2,170          2,165           2,160          2,155           2,150          2,145             2,140                 -           -
Total Ending Cash Balance                            155,449        155,208         147,412        147,110         130,748        130,474         123,401           120,561                 -           -

1. Note that the Trust has not yet distributed the $90,000 disbursement to creditors or the $15,605 "Other" which represents estimated professional fees.
The total amount of $105,605 will be distributed prior to 9/30, pending a succesful closing of the case, but the distribution between creditors and professionals
may differ slightly.
                      Case 09-13038-KG       Doc 1662    Filed 09/26/17    Page 4 of 17


CD Liquidation, LLC
Escrow Balance

$ Dollars
                            Transactions                           Balance
  Date          Explanation                       Amount
29-Oct-09     Deposit                            38,000,000.00    38,000,000.00
2-Nov-09      Dividend                                   27.10    38,000,027.10
1-Dec-09      Dividend                                  451.52    38,000,478.62
28-Dec-09     Withdrawal Moneris RR                (406,524.59)   37,593,954.03
5-Jan-10      Dividend                                  256.49    37,594,210.52
1-Feb-10      Dividend                                     -      37,594,210.52
1-Mar-10      Dividend                                   64.65    37,594,275.17
15-Mar-10     Cure payment Fast Transact             (8,000.00)   37,586,275.17
15-Mar-10     Cure payment MPS                     (200,000.00)   37,386,275.17
15-Mar-10     Cure payment CPS                      (26,292.08)   37,359,983.09
18-Mar-10     Withdrawal Moneris RR                (434,255.67)   36,925,727.42
1-Apr-10      Dividend                                     -      36,925,727.42
22-Apr-10     Cure Payment America One             (367,974.34)   36,557,753.08
22-Apr-10     Cure Payment DTI                     (225,000.00)   36,332,753.08
27-Apr-10     Withdrawal Moneris RR                (226,476.30)   36,106,276.78
30-Apr-10     Withdrawal Moneris RR                (338,464.81)   35,767,811.97
30-Apr-10     Withdrawal Moneris RR                (231,709.51)   35,536,102.46
3-May-10      Withdrawal Moneris RR                (165,462.60)   35,370,639.86
13-May-10     Withdrawal Moneris RR                (202,030.35)   35,168,609.51
28-May-10     Withdrawal Moneris RR              (1,973,404.75)   33,195,204.76
31-May-10     Withdrawl Vendor                     (323,213.79)   32,871,990.97
31-May-10     Dividend                                   35.66    32,872,026.63
1-Jun-10      Withdrawal Moneris RR                (138,377.97)   32,733,648.66
3-Jun-10      Withdrawl EP Reserves                (641,047.77)   32,092,600.89
10-Jun-10     Withdrawal Moneris RR                (349,662.98)   31,742,937.91
10-Jun-10     Withdrawal Moneris RR                (357,925.05)   31,385,012.86
14-Jun-10     Cure enforcement fees                  (6,000.00)   31,379,012.86
23-Jun-10     Cure Payment Process America       (1,585,807.43)   29,793,205.43
25-Jun-10     Withdrawal Moneris RR                (287,225.75)   29,505,979.68
30-Jun-10     Dividend                                   32.65    29,506,012.33
1-Jul-10      Withdrawal Moneris RR                (280,400.69)   29,225,611.64
28-Jul-10     Withdrawal Moneris RR                (301,750.56)   28,923,861.08
31-Jul-10     Dividend                                   32.57    28,923,893.65
6-Aug-10      Withdrawal Moneris RR                (264,953.28)   28,658,940.37
6-Aug-10      Withdrawal Moneris RR                (141,342.17)   28,517,598.20
9-Aug-10      EP Settlement                        (191,557.89)   28,326,040.31
19-Aug-10     Withdrawal Moneris RR                (169,933.96)   28,156,106.35
27-Aug-10     Signapay Cure                          (8,000.00)   28,148,106.35
8-Sep-10      Withdrawal Moneris RR                (180,715.60)   27,967,390.75
22-Sep-10     Release to Term A Lenders          (6,839,535.00)   21,127,855.75
30-Sep-10     Tory's Fees                          (524,296.31)   20,603,559.44
30-Sep-10     Dividend                                   32.82    20,603,592.26
13-Oct-10     Withdrawal Moneris RR                (648,829.48)   19,954,762.78
13-Oct-10     Credit Moneris RR                      24,833.95    19,979,596.73
31-Oct-10     Dividend                                   28.74    19,979,625.47
2-Nov-10      Withdrawal Moneris RR                (297,334.63)   19,682,290.84
                      Case 09-13038-KG      Doc 1662    Filed 09/26/17    Page 5 of 17


CD Liquidation, LLC
Escrow Balance

$ Dollars
                             Transactions                          Balance
2-Nov-10      Dividend                                  24.79    19,682,315.63
3-Nov-10      Withdrawal Pivotal RR               (452,830.41)   19,229,485.22
18-Nov-10     Merchant Cure Claim                  (15,000.00)   19,214,485.22
22-Nov-10     Merchant Cure Claim                  (62,071.75)   19,152,413.47
22-Nov-10     Merchant Cure Claim                  (83,155.06)   19,069,258.41
2-Dec-10      Withdrawal Moneris RR               (126,085.36)   18,943,173.05
2-Dec-10      Dividend                                 125.14    18,943,298.19
13-Dec-10     Withdrawal Moneris RR                (36,842.28)   18,906,455.91
16-Dec-10     Withdrawal Moneris RR                (58,955.94)   18,847,499.97
21-Dec-10     Withdrawal Moneris RR            (10,224,586.74)    8,622,913.23
4-Jan-11      Dividend                                  99.94     8,623,013.17
20-Jan-11     Credit Moneris RR                     15,000.00     8,638,013.17
14-Feb-11     Credit Moneris RR                     62,071.75     8,700,084.92
22-Feb-11     Claims Disbursements                 (12,885.26)    8,687,199.66
1-Mar-11      Claims Disbursements                 (21,900.00)    8,665,299.66
9-Mar-11      Aschettino Settlement                (17,500.00)    8,647,799.66
11-Mar-11     Fund Liquidation Trust              (500,000.00)    8,147,799.66
21-Mar-11     Pivotal Payment                      (23,285.10)    8,124,514.56
31-Mar-11     Fund Cash Collateral                (150,000.00)    7,974,514.56
29-Apr-11     Dividend                                  12.84     7,974,527.40
31-May-11     Dividend                                  18.70     7,974,546.10
30-Jun-11     Dividend                                  13.83     7,974,559.93
12-Oct-11     Pivotal Release                   (1,710,897.48)    6,263,662.45
31-Oct-11     Dividend                                  38.74     6,263,701.19
12-Dec-11     Excess Pivotal Release              (172,686.25)    6,091,014.94
31-Jan-12     Dividend                                  59.77     6,091,074.71
9-Feb-12      Cure claim release                (3,956,000.00)    2,135,074.71
31-May-12     Dividend                                   7.32     2,135,082.03
31-Dec-12     Dividend                                  39.64     2,135,121.67
30-Jun-13     Dividend                                  17.58     2,135,139.25
31-Jul-13     Dividend                                   8.99     2,135,148.24
31-Oct-13     Dividend                                  17.69     2,135,165.93
4-Feb-14      Distribution to Creditors         (1,000,000.00)    1,135,165.93
31-Mar-14     Dividend                                  16.77     1,135,182.70
30-Jun-14     Dividend                                   9.21     1,135,191.91
28-Feb-15     Dividend                                  12.09     1,135,204.00
12-Mar-15     Distribution to Creditors           (900,000.00)      235,204.00
12-Mar-15     Fund Liquidation Trust              (235,204.00)             -
                                   Case 09-13038-KG                                                 Doc 1662                            Filed 09/26/17         Page 6 of 17




                                                                      80542

CD LIQUIDATION TRUST UAD 1-11-11
CHARLES M MOORE TRUSTEE
401 S OLD WOODWARD AVE
SUITE 340
BIRMINGHAM MI 48009
                                                                                                                                                        Basic Business Checking
                                                                                                                                                        statement
                                                                                                                                                        July 1, 2017 to July 31, 2017
                                                                                                                                                        Account number




Account summary
Beginning balance                                                                                                                                       Call
on July 1, 2017                                                                                                       $128,323.69                       (800) 643-4418
                                                                                                                                                        Hearing impaired (TDD 800 822-6546)

Less withdrawals                                                                                                                                        Visit our web site
                                                                                                                                                        www.comerica.com
Checks                                                                                                                         -$650.00
.....................................................................................................................................................
Electronic (EFT) withdrawals                                                                                               -$6,175.78                   Write to us
.....................................................................................................................................................
Fees and service charges                                                                                                       -$242.17                 COMERICA BANK
                                                                                                                                                        PO BOX 75000
Ending balance                                                                                                                                          DETROIT, MI 48275-8542
on July 31, 2017                                                                                                      $121,255.74



                                                                                                                                                        Effective 9/1/2017, the following fee changes will
                                                                                                                                                        apply: Account Activity Fees - NSF (Return of
                                                                                                                                                        unpaid items) and Paid Overdraft per item fees
                                                                                                                                                        for 1st occurrence will be $26, 2nd-4th
                                                                                                                                                        occurrences and 5th or greater occurrences will
                                                                                                                                                        be $38; ATM/Check Card - Transactions at U.S.
                                                                                                                                                        ATMs Other Than Comerica ATMs (Withdrawal;
                                                                                                                                                        Balance Inquiry; Account Transfer) will be $2.50
                                                                                                                                                        per transaction.
                                                                                                                                                        The Account Balance Fee for this statement
                                                                                                                                                        period for this account is $0.00/$1,000.




                                                                                                                                                                                          Page 1 of 3
                    Case 09-13038-KG                 Doc 1662         Filed 09/26/17         Page 7 of 17




Basic Business Checking statement
July 1, 2017 to July 31, 2017




Basic Business Checking account details:
Checks paid this statement period
  This symbol indicates a break in check number sequence
*




# This symbol indicates an original item not enclosed
@ This symbol indicates a break in check number sequence and an original item not enclosed


                                                       Bank                                                               Bank
Check                                     Date         reference           Check                            Date          reference
number                     Amount ($)     paid         number              number              Amount ($)   paid          number
 #   1071                     -325.00     Jul 24       0971336081          #   1072              -325.00    Jul 24        0971336080
Total checks paid this statement period: -$650.00
Total number of checks paid this statement period: 2


Electronic withdrawals this statement period
                                                                                                              Reference numbers
Date                  Amount ($)          Activity                                                           Customer       Bank
Jul 10                   -4,987.78        Wire # 102687 Bnf Conway Mackenzie Manageme                                       9485003324
Jul 10                     -620.00        Wire # 102691 Bnf Polsinelli Shu Fed # 001597                                     9485003323
Jul 10                     -568.00        Wire # 102701 Bnf Mcdonald Hopki Fed # 001614                                     9485003322
Total Electronic Withdrawals: -$6,175.78
Total number of Electronic Withdrawals: 3


Fees and service charges this statement period                                                                Bank
                                                                                                              reference
Date                  Amount ($)          Activity                                                            number
Jul 14                     -242.17        Service Charge                                                      0006527491
Total Fees and Service Charges: -$242.17
Total number of Fees and Service Charges: 1



         Lowest daily balance
         Your lowest daily balance this statement period was $121,255.74
         on July 24, 2017.




                                                                                                                     Page 2 of 3
               Case 09-13038-KG            Doc 1662   Filed 09/26/17   Page 8 of 17




Basic Business Checking statement
July 1, 2017 to July 31, 2017




Basic Business Checking:




     Equal Opportunity Lender Rev. 07-05                                              MEMBER FDIC
                                                www.comerica.com
                                                                                        Page 3 of 3
             Case 09-13038-KG      Doc 1662    Filed 09/26/17    Page 9 of 17




                           80542

CD LIQUIDATION TRUST UAD 1-11-11
CHARLES M MOORE TRUSTEE
401 S OLD WOODWARD AVE
SUITE 340
BIRMINGHAM MI 48009
                                                          Basic Business Checking
                                                          statement
                                                          July 1, 2017 to July 31, 2017
                                                          Account number




Account summary
Beginning balance                                         Call
on July 1, 2017                          $2,149.73        (800) 643-4418
                                                          Hearing impaired (TDD 800 822-6546)

Less withdrawals                                          Visit our web site
Fees and service charges                      -$5.00      www.comerica.com

Ending balance                                            Write to us
on July 31, 2017                         $2,144.73        COMERICA BANK
                                                          PO BOX 75000
                                                          DETROIT, MI 48275-8542




                                                          Effective 9/1/2017, the following fee changes will
                                                          apply: Account Activity Fees - NSF (Return of
                                                          unpaid items) and Paid Overdraft per item fees
                                                          for 1st occurrence will be $26, 2nd-4th
                                                          occurrences and 5th or greater occurrences will
                                                          be $38; ATM/Check Card - Transactions at U.S.
                                                          ATMs Other Than Comerica ATMs (Withdrawal;
                                                          Balance Inquiry; Account Transfer) will be $2.50
                                                          per transaction.
                                                          The Account Balance Fee for this statement
                                                          period for this account is $0.00/$1,000.




                                                                                            Page 1 of 3
                   Case 09-13038-KG                  Doc 1662        Filed 09/26/17   Page 10 of 17




Basic Business Checking statement
July 1, 2017 to July 31, 2017




Basic Business Checking account details:

Fees and service charges this statement period                                                        Bank
                                                                                                      reference
Date                  Amount ($)          Activity                                                    number
Jul 14                       -5.00        Service Charge                                              0006527492
Total Fees and Service Charges: -$5.00
Total number of Fees and Service Charges: 1



         Lowest daily balance
         Your lowest daily balance this statement period was $2,144.73
         on July 14, 2017.




                                                                                                            Page 2 of 3
               Case 09-13038-KG            Doc 1662   Filed 09/26/17   Page 11 of 17




Basic Business Checking statement
July 1, 2017 to July 31, 2017




Basic Business Checking:




     Equal Opportunity Lender Rev. 07-05                                               MEMBER FDIC
                                                www.comerica.com
                                                                                         Page 3 of 3
                                  Case 09-13038-KG                                                Doc 1662                            Filed 09/26/17          Page 12 of 17




                                                                      80542

CD LIQUIDATION TRUST UAD 1-11-11
CHARLES M MOORE TRUSTEE
401 S OLD WOODWARD AVE
SUITE 340
BIRMINGHAM MI 48009
                                                                                                                                                        Basic Business Checking
                                                                                                                                                        statement
                                                                                                                                                        August 1, 2017 to August 31, 2017
                                                                                                                                                        Account number




Account summary
Beginning balance                                                                                                                                       Call
on August 1, 2017                                                                                                     $121,255.74                       (800) 643-4418
                                                                                                                                                        Hearing impaired (TDD 800 822-6546)

Less withdrawals                                                                                                                                        Visit our web site
Electronic (EFT) withdrawals                                                                                               -$2,550.00                   www.comerica.com
.....................................................................................................................................................
Fees and service charges                                                                                                       -$284.97                 Write to us
Ending balance                                                                                                                                          COMERICA BANK
on August 31, 2017                                                                                                    $118,420.77                       PO BOX 75000
                                                                                                                                                        DETROIT, MI 48275-8542




                                                                                                                                                        Starting September 15, 2017, Same Day ACH
                                                                                                                                                        (SDA) becomes effective for Debits. You may not
                                                                                                                                                        charge your customer for SDA debit activity prior
                                                                                                                                                        to the Settlement date. While you cannot disable
                                                                                                                                                        SDA you may optionally block all electronic
                                                                                                                                                        transactions. For more information about SDA,
                                                                                                                                                        please contact Treasury Management
                                                                                                                                                        Relationship Services at 800.852.3649.
                                                                                                                                                        The Account Balance Fee for this statement
                                                                                                                                                        period for this account is $0.00/$1,000.




                                                                                                                                                                                         Page 1 of 3
                 Case 09-13038-KG                  Doc 1662        Filed 09/26/17     Page 13 of 17




Basic Business Checking statement
August 1, 2017 to August 31, 2017




Basic Business Checking account details:

Electronic withdrawals this statement period
                                                                                                      Reference numbers
Date                Amount ($)          Activity                                                      Customer     Bank
Aug 24                 -2,550.00        Wire # 101630 Bnf Cohn Reznick Fed # 001031                                9485003400
Total Electronic Withdrawals: -$2,550.00
Total number of Electronic Withdrawals: 1


Fees and service charges this statement period                                                        Bank
                                                                                                      reference
Date                Amount ($)          Activity                                                      number
Aug 11                   -284.97        Service Charge                                                0001692343
Total Fees and Service Charges: -$284.97
Total number of Fees and Service Charges: 1



       Lowest daily balance
       Your lowest daily balance this statement period was $118,420.77
       on August 24, 2017.




                                                                                                            Page 2 of 3
               Case 09-13038-KG            Doc 1662   Filed 09/26/17   Page 14 of 17




Basic Business Checking statement
August 1, 2017 to August 31, 2017




Basic Business Checking:




     Equal Opportunity Lender Rev. 07-05                                               MEMBER FDIC
                                                www.comerica.com
                                                                                         Page 3 of 3
             Case 09-13038-KG      Doc 1662   Filed 09/26/17   Page 15 of 17




                           80542

CD LIQUIDATION TRUST UAD 1-11-11
CHARLES M MOORE TRUSTEE
401 S OLD WOODWARD AVE
SUITE 340
BIRMINGHAM MI 48009
                                                         Basic Business Checking
                                                         statement
                                                         August 1, 2017 to August 31, 2017
                                                         Account number




Account summary
Beginning balance                                        Call
on August 1, 2017                         $2,144.73      (800) 643-4418
                                                         Hearing impaired (TDD 800 822-6546)

Less withdrawals                                         Visit our web site
Fees and service charges                      -$5.00     www.comerica.com

Ending balance                                           Write to us
on August 31, 2017                        $2,139.73      COMERICA BANK
                                                         PO BOX 75000
                                                         DETROIT, MI 48275-8542




                                                         Starting September 15, 2017, Same Day ACH
                                                         (SDA) becomes effective for Debits. You may not
                                                         charge your customer for SDA debit activity prior
                                                         to the Settlement date. While you cannot disable
                                                         SDA you may optionally block all electronic
                                                         transactions. For more information about SDA,
                                                         please contact Treasury Management
                                                         Relationship Services at 800.852.3649.
                                                         The Account Balance Fee for this statement
                                                         period for this account is $0.00/$1,000.




                                                                                          Page 1 of 3
                 Case 09-13038-KG                  Doc 1662        Filed 09/26/17   Page 16 of 17




Basic Business Checking statement
August 1, 2017 to August 31, 2017




Basic Business Checking account details:

Fees and service charges this statement period                                                      Bank
                                                                                                    reference
Date                Amount ($)          Activity                                                    number
Aug 11                     -5.00        Service Charge                                              0001692344
Total Fees and Service Charges: -$5.00
Total number of Fees and Service Charges: 1



       Lowest daily balance
       Your lowest daily balance this statement period was $2,139.73
       on August 11, 2017.




                                                                                                          Page 2 of 3
               Case 09-13038-KG            Doc 1662   Filed 09/26/17   Page 17 of 17




Basic Business Checking statement
August 1, 2017 to August 31, 2017




Basic Business Checking:




     Equal Opportunity Lender Rev. 07-05                                               MEMBER FDIC
                                                www.comerica.com
                                                                                         Page 3 of 3
